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IN THE UNITED STATES DISTRICT COURT .
FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA,
Plaintiff
v.
$53,082,824.19 IN U.S. CURRENCY,

Defendant

No: 19-cv-01930
FILED UNDER SEAL

BANCO SAN JUAN INTERNACIONAL’S MOTION
TO TREAT THIS MATTER AS A RELATED CASE

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' Co-counsel for BSJI, DLA Piper, was not counsel for

(No. 19-

Misc.-163), which is sealed, and is thus not in possession of the materials from that matter
referenced in this Motion. For this reason, this brief and its attachments have been prepared by

undersigned counsel only.
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Pursuant to Local Civil Rule 3A(d), the government, “(ujpon filing” this civil forfeiture

action, should have designated it a related case with ee isc. No. 19-mc-

163 (PG) (2019).? The civil forfeiture in this case concerns $53 million in assets belonging to

Banco San Juan Intemational (3S),

In the course of investigating its grounds to bring this forfeiture action, the government executed

a search warrant at BSI

MER Te government now has brought an

enforcement action through this civil forfeiture proceeding and, as the government must have

anticipated, BSJI has filed a motion for a suppression hearing.

The Local Rules Provide for consideration of 3 factors in deciding whether

cases are related, and each favors such a related case finding here:

Thus, the
case should “be reassigned to the Judge overseeing the case which was filed earliest.” United
States v. Pescatore, 2006 WL 47451, at *7 (E.D.N.Y. June 5, 2006).

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(1) both actions involve the same parties and are based on the same or a similar claim;

(2) both actions involve the same property, transaction, or event; or,

(3) both actions involve similar questions of fact and the same question of law and their
assignment to the same district judge is likely to effectuate a substantial saving of
judicial effort.

Local Civil Rule 3A(d); see also Vaqueria Tres Onjitas, Inc. v. River Cubano, 341 F.

Supp. 2d 69 (D.P.R. 2004) (Casellas, J.) (granting defendant’s motion for related case

designtion es
MS 0 States». Astra Motor Cars, 352

F. Supp. 2d 370, 373 (E.D.N.Y. 2005) (holding civil forfeiture action and criminal case

concerning the same property were related, with consideration of common evidence and issues).

Additionally, treating the cases as related would prevent the government from judge

shopping. Vaqueria Tres Onjitas, Inc., 341 F. Supp. 2d at 72-73 (granting defendant’s related

case motion to prevent judge shopping). Here, the government did not designate this as a related

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precise type of forum shopping that should be prevented.
CONCLUSION

The Court should assign the case to Judge Pérez-Giménez as a related case.
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Dated: October 9, 2019

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CERTIFICATE OF SERVICE
I certify that the foregoing was filed on October 9, 2019 with the Clerk of Court using the
CM/ECF system, which automatically sent a notice of electronic filing to all counsel of record.

/s/ Guillermo-Ramos Luifia
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